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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF FLORIDA
                                            Tallahassee Division


              JANE DOE, individually and on behalf
              of her minor daughter, SUSAN DOE,
              et al.,
                                                                Case No. 4:23-cv-00114-RH-MAF
                                        Plaintiffs,
                                 v.

              JOSEPH A. LADAPO, M.D., in his
              official capacity as Florida’s Surgeon
              General of the Florida Department of
              Health, et al.,

                                        Defendants.


                      DECLARATION OF REBECCA CRUZ EVIA IN SUPPORT OF 
                      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                      I, Rebecca Cruz Evia, hereby declare and state as follows:

                      1.     I am over the age of 18, of sound mind, and in all respects competent

             to testify. I have personal knowledge of the information contained in this Declaration

             and would testify completely to those facts if called to do so.

                      2.     I am 40 years old, and I am a plaintiff in this Action.

                      3.     I am a Florida resident. I live in St. Lucie County.

                      4.     I am a woman and I am also transgender. Although I was incorrectly

             assigned the sex male at birth, my gender identity is female. I experience and have

             been diagnosed with gender dysphoria due to the significant distress caused by the


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             disconnect between my sex assigned at birth, along with some of my primary and

             secondary sex characteristics, and my gender identity.

                      5.     I have been prescribed estrogen, which has allowed me to bring my

             body into alignment with my female gender identity. I began receiving hormone

             therapy at Care Resources in Miami, Florida, and I currently receive my medical

             care from physicians at the University of Miami Health System.

                      6.     I have legally changed my name and my gender marker on my

             government-issued identification documents, and am legally recognized as female

             by the state and federal government.

                      7.     I underwent a breast augmentation procedure in 2020, which further

             helped to bring my body into alignment with my gender identity.

                      8.     I have experienced significant improvement in my quality of life due to

             being on hormone therapy and receiving surgery, both of which help to ameliorate

             some of the effects of my gender dysphoria.

                      9.     I was scheduled to have surgery at the University of Miami on August

             15, 2023, with a pre-op consultation scheduled for August 4, 2023. The surgery is a

             vaginoplasty and it has been deemed medically necessary for the treatment of my

             gender dysphoria. I meet the criteria under the WPATH standards of care, and I

             provided the surgeon with two letters attesting to my readiness for surgery, including

             from my mental health provider.



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                      10.    I received a phone call from my surgeon at the University of Miami

             informing me that my surgery has been cancelled due to SB 254. This news was

             devastating and shocking, as I am mere weeks away from my scheduled procedure,

             and I have already made the necessary arrangements to undergo this needed medical

             procedure.

                      11.    I have sought out other alternatives for receiving the medically

             necessary procedure, but I have no other options for obtaining this surgery.

                      12.    Without access to the procedure, I will continue to experience harm

             related to my gender dysphoria. As an adult, I should be able to make decisions about

             my own health and my own body, but because of SB 254, I am being denied the

             treatment prescribed for me by my treating medical providers.

                      I declare under penalty of perjury that the foregoing is true and correct. 

             Executed this 24th day of July, 2023.                                 

                                                              Respectfully Submitted,

                                                                                             

                                                              Rebecca Cruz Evia




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